      Case 1:24-cv-03220-DLF           Document 36-2   Filed 03/18/25   Page 1 of 5




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

ELI LILLY AND COMPANY, et al.,

       Plaintiffs,

v.

ROBERT F. KENNEDY JR., et al.,                 Case No. 1:24-cv-3220 (DLF)

       Defendants.

BRISTOL MYERS SQUIBB COMPANY,

       Plaintiff,

v.

ROBERT F. KENNEDY JR., et al,                  Case No. 1:24-cv-3337 (DLF)

       Defendants.

NOVARTIS PHARMACEUTICALS
CORPORATION,

       Plaintiff,

v.
                                               Case No. 25-cv-0117 (DLF)
ROBERT F. KENNEDY JR., et al,

       Defendants.

SANOFI-AVENTIS U.S. LLC
                          Plaintiff,
                     v.                        Case No. 1:24-cv-3496 (DLF)

ROBERT F. KENNEDY JR., et al.,
                          Defendants.



      DECLARATION OF MAUREEN TESTONI IN SUPPORT OF 340B
     HEALTH, UMASS MEMORIAL MEDICAL CENTER, AND GENESIS
     HEALTHCARE SYSTEM’S MOTION FOR SUMMARY JUDGMENT
        Case 1:24-cv-03220-DLF         Document 36-2        Filed 03/18/25      Page 2 of 5




I, Maureen Testoni, state as follows under the penalty of perjury:

   1.     I am the President and Chief Executive Officer of 340B Health, an Intervenor Defendant

          in this action.

   2.     The information set forth in this declaration is based upon my personal knowledge.

The Product Replenishment Model

   3.     For many years, certain providers who may purchase drugs covered by the 340B statute

          (340B Hospitals) have used the product replenishment model to manage different drug

          inventories and meet their compliance obligations under the 340B statute, which

          prohibits 340B Hospitals and other 340B Providers from reselling or transferring a 340B

          drug to an individual who is not their patient.

   4.     The product replenishment model helps ensure that 340B discounts are only provided

          to 340B-eligible patients of 340B Providers that use a single neutral physical drug

          inventory of 340B and non-340B drugs rather than two physically separate inventories.

   5.     Product replenishment works slightly differently depending upon whether a drug is

          dispensed to a 340B patient at a 340B Hospital or through a contract pharmacy.

   6.     Within a 340B Hospital, the hospital makes an initial purchase of a covered drug at the

          drug’s list price, because the drug has not yet been dispensed to a 340B patient. A virtual

          inventory system then tracks dispenses of the drug, recording instances when the drug

          is dispensed to a 340B patient. Once a full package of the drug has been dispensed to

          340B patients, the 340B Hospital purchases the drug at the 340B discounted price to

          replenish its stock. The 340B Hospital will forever replenish its stock of that drug

          package at the 340B price when the number of drugs dispensed to 340B patients reaches

          that package size.




                                                 2
     Case 1:24-cv-03220-DLF        Document 36-2        Filed 03/18/25      Page 3 of 5




7.     When a contract pharmacy is involved, the product replenishment model functions in

       three steps. First, the pharmacy dispenses drugs purchased at market prices to patients

       from its regular inventory. Second, a third-party administrator or the pharmacy itself

       identifies the patients who received those drugs that are eligible for 340B discounts,

       using 340B-tailored software. That software operates under the oversight of the 340B

       Hospital, and each 340B-eligible drug is reported to the 340B Hospital. Third, once

       eligibility is confirmed and a full package of the drug has been dispensed to 340B

       patients, the 340B Hospital purchases the drug at the 340B discounted price, and the

       manufacturer (or its wholesaler) ships the drug to the dispensing pharmacy, replenishing

       the pharmacy’s stock for the drug it dispensed to the 340B patient, where it becomes

       part of the pharmacy’s regular inventory. The pharmacy passes on to the 340B Hospital

       the payment it received when it dispensed the drug, less an agreed upon dispensing fee.

8.     Under either scenario, product replenishment functions differently than a rebate would.

9.     When done in-house, the 340B Hospital pays market price for a drug one time. Every

       subsequent purchase of drugs dispensed to 340B patients is at the 340B discounted price.

10.    For a contract pharmacy, the 340B Hospital never purchases drugs at the market price.

       Instead, it purchases drugs at the 340B discounted price and uses those drugs to replenish

       the contract pharmacy’s inventory of drugs dispensed to 340B patients. There is no

       rebate involved.

11.    Under a rebate model, the 340B Hospital is forced to purchase a covered drug at its

       market price each time. On the other hand, product replenishment—whether done in-

       house or through a contract pharmacy—allows 340B Hospitals to access the discounted

       340B price at the time of purchase.




                                              3
     Case 1:24-cv-03220-DLF             Document 36-2        Filed 03/18/25   Page 4 of 5




HRSA Audits

  12.   The 340B statute requires the Secretary to establish a mechanism to prevent duplicate

        discounts. 42 U.S.C. § 256b(a)(5)(A)(ii). Per that directive, the Health Resources and

        Services Administration (HRSA) requires 340B Hospitals to state (when they register

        for 340B) whether they plan to use 340B drugs for Medicaid Fee-for-Service (FFS)

        patients and, if so, to provide their Medicaid billing number(s) to be included on the

        HRSA 340B Medicaid Exclusion File (MEF) so that states and manufacturers will know

        that 340B Hospitals’ drugs are not eligible for a Medicaid rebate, preventing a duplicate

        discount.

  13.   HRSA audits this process, and failure to have the correct Medicaid billing numbers on

        the MEF will be identified as a “duplicate discount” finding in a HRSA audit, even

        though HRSA does not verify whether the state actually invoiced a manufacturer for a

        rebate on a 340B drug or whether the manufacturer paid a rebate. HRSA, Clarification

        on    Use      of    the        Medicaid       Exclusion   File   (Dec.    12,      2014),

        https://www.hrsa.gov/sites/default/files/hrsa/opa/clarification-medicaid-exclusion.pdf

        (last visited Mar. 17, 2024).

  14.   In my role as President and Chief Executive Officer of 340B Health, I have had several

        conversations with 340B Hospitals regarding HRSA’s annual audits.

  15.   In those conversations, I learned that there have been several instances when HRSA

        audits a covered entity, issues a Medicaid duplicate discount finding because the correct

        Medicaid billing numbers were not listed in the MEF, but then downgrades that

        duplicate discount finding to a “Medicaid Exclusion File Error.” This occurs when a

        covered entity provides HRSA with documentation that their state Medicaid agency did




                                                   4
      Case 1:24-cv-03220-DLF           Document 36-2         Filed 03/18/25      Page 5 of 5




          not collect manufacturer rebates for 340B claims during the audit period. HRSA has

          revised findings in final audit reports to reflect that duplicate discounts did not occur as

          a result of the incorrect or incomplete billing information listed in the MEF.

   16.    I also know from my conversations with 340B Hospitals that state Medicaid agencies

          do not always respond to hospital requests for documentation regarding whether those

          agencies collected manufacturer rebates. As a result, it is likely that the number of

          duplicate discount findings is larger than the reality, as several covered entities will be

          unable to prove that their error did not lead to an improper duplicate discount.


         18 th day of March, 2025, I declare under penalty of perjury that the foregoing is true
On this ____

and correct.


                                              ____________________________
                                              Maureen Testoni
                                              President and Chief Executive Officer
                                              340B Health




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